                         UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI



H&R BLOCK, INC. and HRB
INNOVATIONS, INC.,
                                                            Case No. 4:21-cv-00913-NKL
                        Plaintiffs,

        V.

BLOCK, INC.,

                        Defendant.



                                 CERTIFICATE OF SERVICE

       The undersigned counsel for Plaintiffs H&R Block, Inc. and HRB Innovations, Inc. hereby

certifies that a true and correct copy of Plaintiffs’ Responses and Objections to Defendant Block,

Inc.’s First Request for Production of Documents; Plaintiffs’ Responses and Objections to

Defendant Block, Inc.’s First Request for Admissions; and Plaintiffs’ Answers and Objections to

Defendant Block, Inc.’s First Set of Interrogatories was served by electronic means to counsel of

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Dated: April 12, 2022
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